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     WAR, INC.
6

7

8                              UNITED STATES BANKRUPTCY COURT
9                              SOUTHERN DISTRICT OF CALIFORNIA
10   In re                                              CASE NO. 18-06044-LT11
11   JESSE DAWBER, an individual,                       Chapter 11
12                                                      [Jointly Administered with Case No. 19-
                              Debtor-In-Possession.     00293-LT11]
13
                                                        DECLARATION OF JEREMY
14   JESSE DAWBER, an individual,                       ROSENTHAL RE EMERGENCY
                                                        HEARING REQUESTED BY
15                                                      CHAPTER 11 EXAMINER
                        Case No. 18-06044-LT11
16

17   CLASS WAR, INC., a California
     corporation,
18
                        Case No. 19-00293-LT11
19
                              Debtors.
20

21
     [ ] Affects both Debtors.
22   [X] Affects Class War, Inc. only.
     [ ] Affects Jesse Dawber only.
23

24            I, JEREMY ROSENTHAL, declare:
25            1.       I am over 18 years of age. I am the President, Chief Executive Officer,
26   Chief Restructuring Officer and Secretary of Class War, Inc., a California corporation
27   (“Class War” or the “Debtor”), which is a debtor and debtor-in-possession in the
28   above-captioned Chapter 11 case.

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1              2.        Except as indicated, all statements set forth in this Declaration are based
2    upon: (1) my personal knowledge; (2) information supplied to me by officers and
3    employees of the Debtor or the Debtor’s professionals; (3) my review of relevant
4    documents; and/or (4) my opinion based upon my experience and knowledge of the
5    Debtor’s operations and financial conditions. I have personal knowledge of the facts
6    set forth in this declaration and could and would testify thereto if called as witness in
7    this matter.
8              3.        I have previously filed declarations in this case which provide general
9    background information and my understanding of certain historical events and
10   transactions. In particular, I would like to call the Court’s attention to my First Day
11   Declaration, dated January 28, 2019 (the “First Day Declaration”) (filed in Case No.
12   19-00293-LT11, Docket No. 5), and my Declaration regarding March 13, 2019 Status
13   Conference filed in the jointly administered Case No. 18-06044-LT11 as Docket No.
14   174 (the “March Declaration”).
15             4.        In large measure, the foundation for my drafting and swearing to the
16   veracity of facts and statements I made in these Declarations were the statements made
17   to me by Jesse Dawber (“Dawber”) and Drew Madacsi (“Madacsi”) and the statements
18   and attestations made in Dawber’s Schedules, Statement of Financial Affairs,
19   pleadings filed on behalf of Dawber and Dawber’s declarations. The cornerstone for
20   that foundation was that the relationship between Dawber and STFU Global PTE Ltd.
21   (“STFU”) was arm’s length, limited to the terms of the Creative Agreement between
22   Dawber and STFU, dated June 30, 2017, and, most importantly, that Dawber did not
23   own or control STFU.
24             5.        The Court has appointed Jesse S. Finlayson, the Court-Appointed
25   Examiner (the "Examiner") in both Class War’s case and the jointly administered case
26   of Jesse Dawber.
27             6.        The Examiner has propounded document discovery on several parties to
28   these Cases, including Dawber, Class War, STFU and Madacsi. Over the past two

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1    weeks the Examiner has also taken my deposition as well as the deposition of Jeslyn
2    Leong (“Leong”) on behalf of STFU and the deposition of Madacsi. The Examiner’s
3    document discovery and depositions are collectively referred to herein as the
4    “Discovery”).
5              7.        The Discovery revealed several troubling facts relating to the relationship
6    between Dawber, STFU, and Madacsi. These issues are described in the Chapter 11
7    Examiner’s Preliminary Report and Request for Emergency Hearing, dated July 12,
8    2019, Docket No. 327 (“Examiner’s Preliminary Report”).
9              8.        From my perspective, the most significant fact that emerged from the
10   Discovery and which has been confirmed in the Examiner’s Preliminary Report is the
11   existence of a document entitled “Declaration of Trust” which states that Leong is
12   holding 100% of the shares of STFU in trust for Dawber, apparently leaving Dawber
13   in full control of the voting and economic rights associated with that equity and
14   leaving Dawber capable of unilaterally terminating the Trust and recovering 100% of
15   the equity in STFU at any time. A copy of the Declaration of Trust is attached hereto
16   as Exhibit 1. If the Declaration of Trust is an authentic and enforceable document, and
17   the Discovery that I am aware of and the Examiner’s Preliminary Report do not
18   suggest any reasons why it would not be authentic and enforceable, then Dawber is
19   the 100% owner of both Class War and STFU and has been before his petition date
20   and throughout both his Chapter 11 case and Class War’s Chapter 11 case.
21             9.        As I testified in my deposition on July 8, 2019, the first time that I became
22   aware of the Declaration of Trust or Dawber’s ownership of STFU was following
23   Madacsi’s deposition on July 2, 2019, when the Examiner questioned Madacsi about
24   the Declaration of Trust which Madacsi signed as a witness. Until I became aware of
25   the Declaration of Trust I did not know or suspect that Dawber owned STFU.
26             10.       Dawber’s concealment of his ownership of STFU has significant
27   ramifications for these cases and my ability to effectively perform the services for
28   which I have been retained in the Class War case. A number of statements made to

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1    me as an officer of Class War appear to have been false and misleading. Similarly,
2    Dawber, directly and through his counsel appear to have made false and misleading
3    statements to the Court. Dawber’s false and misleading statements and his
4    concealment of material facts have led me to consider resigning my position as an
5    officer of Class War and have led Force Ten Partners LLC (“Force 10”) to considering
6    terminating its engagement as financial advisor to Class War. Absent a clear
7    opportunity for Force 10 and I to provide significant value to the Class War estate and
8    the support of all constituencies to our continued work on behalf of Class War we
9    intend to resign.
10             11.       Due to many of the statements and implications in the First Day
11   Declaration and the March Declaration being rendered potentially false and/or
12   misleading by the evidence that has emerged from the Discovery, it also appears that
13   parts of the JOINT DISCLOSURE STATEMENT DESCRIBING JESSE DAWBER
14   AND CLASS WAR INC.’S FIRST AMENDED JOINT CHAPTER 11 PLAN OF
15   REORGANIZATION, dated April 18, 2019 [Docket No. 247] (the “Disclosure
16   Statement”) are false and/or misleading. As a result I have requested counsel on behalf
17   of Class War to withdraw Class War as a proponent of the Disclosure Statement and
18   the associated First Amended Joint Chapter 11 Plan of Reorganization (the “Joint
19   Plan”). Class War is no longer pursuing the Disclosure Statement or the Joint Plan,
20   although it reserves the right to file its own plan of reorganization and/or a joint plan
21   of reorganization in the future.
22             12.       Class War is currently undergoing an audit of its 2015, 2016 and 2017
23   federal tax returns and it has not yet filed its 2018 federal or state tax returns. It is my
24   understanding that Class War took significant deductions on its 2017 tax returns
25   related to accrued and unpaid royalties purportedly owed to STFU. Class War also
26   booked significant accrued and unpaid royalties on its financial statements for 2018.
27   I have been informed, but have not independently investigated or confirmed, that an
28   entity is not permitted to deduct accrued but unpaid royalties owed to an affiliate. I

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1    have also been informed that Class War’s accountants knew this and requested that
2    Dawber establish that he did not own or control STFU. According to the Examiner’s
3    Preliminary Report, pages 8-9, Mark Stepka at BDO USA, LLC (Class War’s and
4    Dawber’s accountant) specifically asked if Dawber had any direct or beneficial
5    interest in STFU in 2017, and on the date of Mr. Stepka’s inquiry Madacsi responded
6    that Dawber had resigned from STFU in June 2017, never disclosing that the
7    resignation was backdated and that in fact Dawber owned STFU throughout 2017. It
8    appears that Dawber’s ownership of STFU will have significant consequences for
9    Class War’s already filed 2017 tax return and the preparation of its 2018 tax return.
10   In light of Class War’s participation in the preparation of these returns and discussions
11   with the IRS auditor assigned to audit Class War, I directed counsel for Class War to
12   notify the IRS of the existence of the Declaration of Trust. The letter Class War’s
13   counsel sent to the IRS on Friday, July 12, 2019, is attached hereto as Exhibit 2.
14             13.       Regardless of whether I remain in or leave my role as an officer of Class
15   War, Dawber’s ownership of STFU renders many of my statements and their
16   implications false and/or misleading. As a consequence, I now disavow them.
17   Accordingly, notwithstanding that I believed my statements and their implications to
18   be true and correct when they were made, I believe it is incumbent upon me to alert
19   the Court and the parties that I now believe many of those statements and their
20   implications to be false and/or misleading.
21             14.       In particular, and by no means an exhaustive list of statements that may
22   no longer be reliable due to the concealment of Dawber’s ownership of STFU and the
23   other false and misleading statements made by Dawber, I call the Court’s attention to
24   the following:
25             15.       In the First Day Declaration:
26                            a. I would no longer draw the conclusion made in ¶ 30 that “the path
27                               to maximize the value of Class War’s assets was to enter into a
28                               licensing agreement with STFU.”

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1                             b. In ¶ 32, I do not think it is accurate to state that there is a “common
2                                interest that Class War and STFU have in Mr. Dawber continuing
3                                to be a productive artist and not choosing to abandon his art or the
4                                Sketchy Tank brand in light of the tremendous pressure caused by
5                                the Schindler Litigation, the large and unexpected verdict, and the
6                                near collapse of his company Class War.” Among other things, in
7                                this context, stating that there is a common interest between Class
8                                War and STFU implies that they are not affiliated entities owned
9                                by the same person, Dawber. Further, based on the Discovery, it
10                               seems possible, in light of STFU’s termination of Class War’s
11                               rights, that Dawber and STFU may have conspired to bring about
12                               the “near collapse of [Dawber’s] company Class War” and shift
13                               the profits from the sale of Dawber’s art from Class War (the then
14                               defendant in the Schindler litigation and a United States tax payer)
15                               to STFU (a foreign entity apparently secretly owned by Dawber).
16                            c. Paragraph 35 is also misleading. Had I known of this ownership, I
17                               would not have stated that the license Agreement between Class
18                               War and STFU, dated January 16, 2019 (“License Agreement”)
19                               (attached to the First Day Declaration as Exhibit 28) was the
20                               preferred means of monetizing Class War’s intellectual property
21                               while avoiding costly and uncertain litigation. Nor would I have
22                               said that the License Agreement “protects Class War against the
23                               risk that STFU and Mr. Dawber [would] attempt circumvent Class
24                               War’s rights by adopting new brands and iconography.” Given that
25                               Dawber, a debtor, apparently owns STFU, there are far more direct
26                               and cost-effective means for bringing the diverted value back into
27                               Class War’s estate.
28


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1                             d. Significantly, ten paragraphs of the First Day Declaration, ¶¶ 47-
2                                56, describe my then understanding of the relationship between
3                                Dawber, Class War and STFU, an understanding that was based
4                                upon, inter alia, discussions with Dawber and Madacsi and my
5                                review of all of the agreements between Dawber and STFU that I
6                                was aware of. That description now appears to be false and/or
7                                misleading. Not only did the Discovery establish Dawber’s
8                                apparent ownership of STFU, but it also appears to have
9                                established, among other things, that Leong is employed by an
10                               entity controlled by Madacsi and that Madacsi is currently
11                               Dawber’s “business manager.” These relationships, roles and
12                               connections were not known to me before the Discovery and
13                               therefore were not disclosed in paragraphs 47-56 of the First Day
14                               Declaration.
15             16.       In the March Declaration:
16                            a. Paragraph 5 states: “It does not appear that Class War transferred
17                               any rights or interests as part of the transfers illustrated on the
18                               License Charts and therefore Class War may not be able to seek to
19                               avoid the purported termination of Mr. Dawber’s license to Class
20                               War and STFU’s purported termination of its license to Class War.
21                               Further, as the Court observed, given the foreign status of STFU,
22                               Ms. Leong and Mr. Madacsi, if there are avoidable transfers, it
23                               may be difficult and costly to prosecute avoidance actions and
24                               ultimately recover damages on account of any avoided transfers.”
25                               In light of the evidence that has emerged in the Discovery, these
26                               statements do not reflect my current views.
27                            b. Paragraph 8 states: “The contemplated joint plan was developed
28                               by Class War and Mr. Dawber in recognition of the reality that by

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1                             virtue of Mr. Dawber terminating his grant of a license to STFU
2                             and foregoing the license payments he receives from STFU, that
3                             Class War and Mr. Dawber could effectively undo the historic
4                             events that Class War, Mr. Schindler and this Court are focused on
5                             without the cost and uncertainty of trying to establish that the grant
6                             and termination of the various licenses at issue are avoidable
7                             transfers. Mr. Dawber terminating his license to STFU is an
8                             elegant and cost effective way of cutting the Gordian Knot these
9                             cases face … through the joint plan illustrated in the License
10                            Charts, we can effectively undo the prior arrangements and bring
11                            all of the intellectual property back to Mr. Dawber and Class War
12                            for efficient exploitation for the benefit of all holders of allowed
13                            claims.” In light of the evidence that has emerged in the Discovery,
14                            these statements do not reflect my current views. Further, it
15                            appears that a more accurate organizational chart showing the
16                            relationship between the entitles would be as reflected on Exhibit
17                            3 attached hereto.
18             17.       I am profoundly troubled by the evidence that has emerged in the
19   Discovery and by my mistaken reliance on statements made to me by Dawber and
20   Madacsi and documents filed by or on behalf of Dawber with the Court.
21             I declare under penalty of perjury under the laws of the State of California and
22   the United States of America that the foregoing is true and correct and this declaration
23   is executed on July 13, 2019, in Ojai, California.
24

25                                                         /s/ Jeremy Rosenthal
26
                                                           JEREMY ROSENTHAL

27

28


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                                                    DECLARATION OFTRUST



         This EFGIAfiATIO.I\¡ oEiTRUsr is made on 20 June 2017 by LEoNcJrA          MrN.JEsr.yN   (NRlc sE4u694Z),a
         citizen-   of singapore residing at Blk      41o Jurong wesr      st 42 fio-889, siqgqpþ¡e
         ,,Nomineer).                                                                          |.-: __e.r+s+ro'(irle
                                                                                                     ": ':,.,-.'.

         1.          DEGTARA.TIoNoFTRUST

         1.1        The Nominee declares     that
                    (a)      at the date he¡eof, sþe is the r:egistered holder of all the Or,dinary shar.e¡*Ín,,the
                             5hare ;capital,of STFU;,,Global - pt-è, Ltd:, a company,incqçp-ofatèá .i,l.Si"Èádæ
                             having'tts registered:4ddress at 6 Eu Tong sen stÈ;eti:#1t-20¡'Tt"i"e-.ä-ë.IiiËåLi
                             Sþg¡pore    o598i7(the,,company,');                          :




                    (b)      she.holdS such nurnber of ordinary shares ¡epresenting rgoË olthe
                             capital of Jhe Company ('tBeneficiary Sh4res,) 9n tr:uit fôij¿s-je,w¡
                             (Passport oi Di-l: 48524,n6o); a citizen of únited:S.tates:ofiA¡nér,iÈairä
                             Puêbla St,:Encin í!as, CA 9zoz4, USA (,ÍBenef ici4f,iO_wngrf
                                                                                          )
                    NOMINEE s IJNEF.RIAKINGS

        2,1         T,he Nominee ir¡evocably and uncondítionally undertakes       to:                                        . ''
                (a)          accouRt to the Beneficial Owner     fon                                                . .  .
                                                                                                                                              :
                                                                                                                                             .'

                            (i)      all divídends, interests and other distributions receivediín respgSt
                                                                                          ' "''i:'               pf:the
                                     ,Benefiçia¡y Shares;   and                                           '" ' '    '.                   '


                            (iD      all and any warcnts, bonus shares and other.secrr:it[es,in.the. co.pany ,
                                     so oiTered and  ,subscribed for by the Ngmþ.ge in resþ5it...ôi.:ti:iê..,.-
                                    '3q¡eficíary,Shares, together wirh'pll diviaenã!,..rpitiÀi:o¡,r''n'æ¡ç!i. ':
                                     accrue{.and to accn¡e ther€on ín respsct of zuCh wang.rits,;þo.au*hlrqs r: ,                                 ,


                                                                                                          ''
                                     or securÍties in the   Company;                                             . "'        ,'

                (b)         exercise.all votíng and other rights and powers vested in th-e ,Non¡ín€e as                          .


                                        fi-otaer of the Beneficíary Shares (1rRigþtsl,) ín accor.ila_näe"witt;r';¡[s,
                            fjglSlgreO
                                           !.hç Beneficíal'owner, and shatt nor éierciie anv¡6hË *i¡tr.o!tthe ,
                                                                                                                                                  '
                            litrlig*   "l the
                            directions of      Beneficial Owneç                                        ''
                (Ð         transfer, pay and de:l. with the Benefíciary Shares and all dividends and ill.tç.r.FFt                    -
                           pqyabie in          in the same in such manne¡: as the.Beneiiè.iå'ry'Shall.iiöm,'tir;                     ,
                                      fe,spect
                           to time direct, and íf rçquired by the ,BenefÍcial owner, shailtign and,.executê,ài[                  :


                           deeds; docurneRts or other writings and do all things whiih mãt berneleis?ry:to
                           effectuatelthe transfer or payrnent of the Benèficiary.:Sh?res o!- _¿iV¡ciends,
                           bonuses o¡ other rights in respect thereof to .the Benefícial éwner:ôr:.fo his
                           norni¡ee,:as the-Beneficial Owner may direc! and'

               (d)        - save as the Beneficial owner may direct from time to t¡me, the Nominee shall not:

                           (D       pledge, mortgage, charge or otherwise encurnbêt in ar1¡r mpnner "thç                     _


                                    Benefíciary shares herd by him or any regal or beneficiar, inte'est thereig

                           (¡D      sell, transfer or assígn   the Beneficiary Shares held by him or      4_nyJegal or.
                                    benefícíal.interest therein;
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                               (iií)       assign or grant an option over the Beneficiary Shares held b¡r him or any
                                           legal or beneficial interest there¡n; or

                              (iv)         otherwise purport to deal wíth the Beneficiary Shares held by hím.or
                                           with any legal or beneficial interest therein.

            3.       POWEROFATTORNEY

            3.1      The Nominee appoínts.the Beneficial owner or any person nominated by it in writingas
                                                                                                               its
                     attomey in íts name and on Íts behalf to execute a tr-ansfer or.tr¿nsfers of the Beneiìci3ry
                     shares and        to complete any other deed or document that the attorney may        consider
                    necessary or expedient for.any such purpose.


            3.2     This power of attomey shall be irrevocable save with the consent of the:Beneficíal Oyner
                    and is given by way of security to secure the performance of oblígatíons owed by the
                    Nominee to the Beneficial Owner.

            4.      TERMINATION

            4.1     This Declaratíon of Trust shall only terminate ,if the BenefícÍal Owner provldes written
                    notice of termination to the Nominee ('rTermination Notice"). \Mthín thr:ee ($ days from
                    the date of the Terminatíon Notice, the Nominee shall:

                    (a)      sþn and execute a share transfer form in r€spect of the Beneficíar¡r5hares,ln
                             favour of the Beneficial Owner or any person.nominated by the Benef.'icial, Owñer
                             (as the.Beneficial Owner may direct) (,rB.e¡eficial O¡ryner   Tranifer").

                   (b)       sign and execute all other agreêmen! deeds or documents, and do all things
                             whích may be necessary to effectuate Beneficíal Owner. Transfer, :as :may ,þe
                             requíred by the Beneficial Owner;

                   (c)       deliver the duly executed share transfer for,m and,any other agreçrnenÇ .dgeds or
                         '   documents Ín respect of the Beneficíal Ownei'Transfer to the Beneficiai:Owner;
                             and

                   (d)       delíver the share certíficates ¡n respect of the Beneficiary Shares issued,by the
                             Company to the Nominee to the Beneficial Owner.

       4.2        The terminatíon of this Declaration of Trust shall be effective upon the full complÍance by
                  the Nominee of .its oblþatíons under Clause 4.r.

       5.         INJUNCTIVE RELIEF

                  The Nomínee acknowledges and agrees that damages may be an inadequate remçdy for a
                  breach by ít of any undertakíng, oblígation or term of this Declar¿tion of Trust andshall
                  not oppóse any aPPlicat¡on by the Beneficíal Owner for equitable remedies (íncluding but
                  not limited to íniunction or specific perforrnance), relief to protect its rights undei th¡s
                  Agreement' in addítion to any and all other remedies avaílable to it ín equit¡ at láw or
                  under this Agreement.

       6.         NO RIGHTS OFTHIRD PARTIES

                  A person who ís not a party has no rights under the Contr¿cts (Ríghts of Thírd parties)
                  Act, chapter 538 of Síngapore, to enforce any term of thís Declaration of Trus! but thís
                  does not affect any right or remedy of a third party which exísts or ís available apar.t from
                  the said Act.
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        7.       GOVERNING LAW AND JURISDICTION


        7.1      This Declaration of Trust and any disputes or claims arising out of or ín connection wíth its
                 subject matter or formation (includíng non-contractual dísputes or claims) are govemed
                 by and construed ín accordance with the law of Singapore.

        7.2      The parties irrevocably agree  that the courts of Singapore shall have exclusive iurisdictíon
                 to settle any dispute or   claim that arises out of or in connection with this deed or its
                 subject rnatter or formation (including non-contractual disputes or claims).


        lN W|TNESS WHEREOF, this Declaration of Trust has been                   a deed and ís signed, sealed
        and delivered and takes effect on the date stated at the


                                                   )
        BY I..EONG JIA                             )
                                                   )




       ACKNOWLEDGED by JESSE WAYNE DAWBER




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                                               21
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                                                                                Partner
                                                                                mbreslauer@swsslaw.com
                                                                                (t) 619.238.4804
                                                                                (f) 619.615.7904

 July 12, 2019

 VIA FACSIMILE - 855.481.3839

 Internal Revenue Service
 1 Civic Center Drive Suite 400
 San Marcos, CA 92069
 Attn: Minh Phan

 Re:      Audit- Class War, Inc. (Tax I.D. No. XX-XXXXXXX)-Tax Years 2015, 2016, 2017

 Dear Ms. Phan:

 I am lead Chapter 11 counsel for Class War, Inc., ("Class War") Debtor-in-Possession in
 connection with a consolidated Chapter 11 case now pending in the United States Bankruptcy
 Court for the Southern District of California as Case No. 18-06044-LTll (the "Bankruptcy
 Case"). The Class War Chapter 11 case is administratively consolidated with the case of Jesse
 Wayne Dawber under the single case number mentioned immediately above.

 Jeremy Rosenthal, the Chief Executive Officer and Chief Restructuring Officer of Class War,
 has become aware of certain facts that may be inconsistent with positions previously taken by
 Class War and Mr. Dawber with respect to the tax returns and ongoing audits for both Class War
 and Mr. Dawber for the 2017 tax year.

 As the result of discovery conducted with respect to the Bankruptcy Case, Mr. Rosenthal and I
 have recently become aware of a document entitled "Declaration of Trust" which purports to
 identify Mr. Dawber as the beneficial holder of 100% of the equity in a Singaporean entity
 known as STFU Global PTE Ltd. ("STFU"). A copy of the Declaration of Trust is attached
 hereto as Exhibit A. As a result of several depositions related to the Declaration of Trust
 conducted over the past two weeks it is our understanding that the Declaration of Trust was
 entered into in 2018 but backdated to appear as if it was executed in 2017.

 STFU is a counter-party to a purported license agreement with Class War entered into in 2017
 and purportedly terminated in 2018. Royalty payments purportedly owed under that license were
 accrued by Class War on its financial statements for 2017 and 2018 and deducted on its 2017 tax
 return. Class War's 2018 return has not yet been filed. It is Mr. Rosenthal's understanding that
 it was previously represented to the IRS that Mr. Dawber held no interest in STFU and that the
 license between Class War and STFU was entered into at arms' length. Mr. Rosenthal believes
 these representations to be false.
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   Internal Revenue Service
   July 12, 2019
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   If you have any questions regarding this matter, please do not hesitate to contact me.

   Very truly y      rs,


~ ~ ~ c _ _ _ - -



   Michael D. Breslauer
   Solomon Ward Seidenwurm & Smith, LLP

   cc:      Mark Samson, CPA (via email only w/enclosure)
            M. Douglas Flahaut, Esq. (via email only w/enclosure)
            Jesse Finlayson (via email only w/enclosure)
            Jeremy Rosenthal (via email only w/enclosure)

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                                                   DECLARATION OF TRUST



         This D~~.LA.fV\TIQ.N, QF.J~UST is niade on 20 June .2017 by LEON\i JIA MIN.JE,St;f.N(Nm<::: 5&417§94?,); ~' . ..
         citizen of $i~gapbre .residing at Blk 410 Jurong West St 42 #.10~889\~iqg~pore .~4~410 (th~ :< '
         "Nominee").               ·                                                      · · ·' ··    ·. · · ··· · ·

         1.       DEClARf\TION,9FTRUST ·

         1.1      The Nqminee declares that:

                  (a)      at the date.h.ereof, stie is .the registered holder of all ·.t.he ort::l[nary $1;1.'.!r
                                                      1
                           :~::r~g1fsit:!;!t!!J\~ d!:~,-~;'.6Lfet'··;o~;mi~nystti:t!~r;l~:·:wi{:.
                            Siqgapor~ 059&17(the "Comp~ny");               . . . . . . . . . . . . .. .

                  (b)      she ,hold$ syi;h nur,nber .pf ordinary shares repr:ese.ntirig 100% of~.t.h~ •js~,i


                           t;;~$"~F~!f;z:~f~!!tr~~!~! .· .
         2.      .. NC>MIN~~15µJ11Q~_RT~INGS

         2.1      The Nornine~irrevocablyand unconditionally undertakes to:

                  (a)       accOLmt to the l;leneficial Owner for:

                           (i)      .:alLdiyidends, interests and other distributions r.e.c;~lve.¢Apre§p¢ct of;~_rie ·
                                     ·-s¢~~fi~iafy Sha~es; and                            ··. /~·-·         ,

                          '(ii)',    all .and any warrants; bonus shares and othe.r.sec!;lr:itle~ if).tl)e;Cc~n1Jp,rn1y., ·           .


                                    ·!}~lS:1dE{~:tii::~~!,!~,~r:f!i{tii~!!!f '· · •· ·
                                      orsecqrities in the Company;                                            . ' .

                   (b)'     exercis.~. all voting .and other rights .and powers vested ,iq th¢ ·,N~r:rjir,i~e ,_as .·

                            ~jf~::r;:t:!  0
                                          ~i:rB~~:;i~~:6n;~~~:~n~hs~=l~·-J::rxher;;ieiltyc~1;;~ntftic.,·~t:··.
                            directions ofthe.Beneficial Owner,                       . . ·.· ·. . . '' , ..

                   Cc)     .transfE!r, pay .zmd de.al wit!i the Beneficiary SharE:!s and alJ. qiw.igE!r:ic:js i:lmd i.r~~F~i;t . '.
                            payable in respect in the same in such mqnner as the B~rilifi~iary·sha'll::frpriftime .·•.
                            to time direct, and if required. by the Benefidal Owner; sh.:in:'sig!i ;~hd        ;!'!~~9ctf~~i! : ·
                            deeds, ,docur:ri_ents or other writings ai:id do all things .which i'rfay lie netess~r-fto
                            effE:!ctuat~ :the transfer or payment of the Benefidary :ssfuar~s or c<'li.yi<;le~ds,
                            bonUSE:!S. Or other. rights in respect thereof to the BenE:!fldaj Owner\cirt9)\i5 > ·.
                             nominee, as the Beneficial Owner may direct; and                                       . . .

                  (d)      . save as the Beneficial Own_er may direct from time to time, thE:! Nbrriinee .5h)c1U not:

                            (i)       pledge,. mortgage, charge or otherwise encumber in .any manner the•
                                      Beneficiary Shares held by him or any legal or beneficial ir.iterestth~r¢iii;

                            (ii)      sell, ;transfer or assign the Beneficiary Shares held,by birp         or a_nylegal or
                                      beneficial interest therein;                                                           ·
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                       (iii)     assign or grant an option over the Beneficiary Shares held by him or any
                               · legal or beneficial interest therein; or

                       (iv)      otherwi$e purport to deal with the Beneficiary Shares held by him ·Or
                                 with any legal or beneficial interest therein.

         3.    POWER OF ATTORNEY

         3.1   The Nominee appoints .the Beneficial Owner or any .person nominated by it in writing as jts
               attorney in its name and on its behalf to execute a transfer or' transfers of the Benefici11ry
               Shares and to coinpfete any other deed or document that the attorney may :consider
               necessary or expedient for.any such purpose.

               This power of attorney shall be irrevocable save with the consent of the :Beneficia.1 owner
               and is given by way of security to secure the performance of obligations ow.¢'d by the
               Nominee to the Beneficial Owner.                            ·     ····               ·

         4.    TERMINATION

         4.1   This Declaration of Trust shaff only terminate if the .Beneficial Owner provides wri1;1:en
               notice of termination to the Nor;ninee ("Termination Notice"). Within tbree.(3) days from
               the date of the Termination Notice, the Nominee shaff:                 ·

               (a)     sign arid execute a share transfer form in respect of the Beneficiary 5hare.s ,In
                       favour of the Beneficial Owner or any person.nominated by the Beneficial Cii,vner ·..
                       (as the Beneficial Owner may direct) {"BeneficiafO;,vnerTransfer"); ·      ·

               (b)     sign and execute all other agreement, deeds or documents, and do an things
                       which may be necessary to effectuate Ben.eficial Owner Transfer, as inay be
                                                                                                                            r
                       required by the Beneficial Owner;             .           .                                          r!
               (c)     deliver the duly executed share transfer form and ,any other agreement, deeds or .
                       documents in respect of the Beneficial Owner Transfer to the Benefidai;Ow.ner;                       f
                       a~                                                                           .
                                                                                                                            I
               (d)     deliver the share certificates in respect of the Beneficiary Shares issued by the
                       Company to.the Nominee to the Beneficial Owner.                             ·                        I
         4.2   The termination of this Declaration of Trust shalf be effective upon the full compliance by
                                                                                                                            I!
                                                                                                                            i
               the Nominee of .its obligations under Cf a use 4.1.                                    ·                     i
                                                                                                                            i
         5.    INJUNCTIVE RELIEF

               The Nominee acknowledges and agrees that damages may be an inadequate remedy for a                           Ii
               breach by it of any undertaking, obligation or term of this Declaration of Trust and.shall
               not oppose any application by the Beneficial Owner for equitable remedies (in duding but
                                                                                                                                l
                                                                                                                                '
               not limited to injunction or specific performance), relief to protect its rights under this
               Agreement, in addition to any and all other remedies available to it in equity, at law or
               under this Agreement.                                                                                            l
         6.    NO RIGHTS OF THIRD PARTIES

               A person who is not a party has no rights under the Contracts (Rights of Third Parties)
               Act, Chapter 538 of Singapore, to enforce any term of this Declaration of Trust, but this
               does not affect any right or remedy of a third party which exists or is available apart from
               the said Act.



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         7.      GOVERNING LAW AND JURISDICTION

         7.1     This Declaration of Trust and any disputes or claims arising out of or in connection with its
                 subject matter or formation (including non-contractual disputes or claims) are governed
                 by and construed .in accordance with the law of Singapore.

         7.2     The parties irrevocably agree .that the courts of Singapore shall have exclusive jurisdiction
                 to settle any dispute or claim that arises out of or in connectior:i with this deed or its
                 subject matter or formation (including non-contractual disputes or claims).


         IN WITNESS WHEREOF, this Declaration of Trust has been execu
         and delivered and takes effect on the date stated at the. beginnin




         ACKNOWLEDGED by JESSE WAYNE DAWBER




         . a9
         Signature

         Date: _ _..(;,..
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                   \ , \,




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                     EXHIBIT 3
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                                         EXHIBIT 3

         Apparent Actual Organizational Chart After 2017 Creative Agreements




                                   JESSE DAWBER

                                                               Creative Agreement and
                                                               $39,000 Monthly Payment
                                    100% of Equity
                                     in Each Entity



                 CLASS WAR                                        STFU


                                                               Creative Agreement and
                                                               License with 50% Royalty
                                                               on All IP, Including “Classics”

  “Classics”
 Registered to                           Licensed Art
  Class War



                 Wholesale,     Apparel and
                 Retail and     Merchandise Sold to
                   Online       Customers
                 Customers
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 1                                             PROOF OF SERVICE

 2             I, Wendy A. Yones, declare as follows:

 3           I am employed in the County of San Diego, State of California; I am over the age of eighteen
     years and am not a party to this action; my business address is Solomon Ward Seidenwurm & Smith,
 4   LLP, 401 B Street, Suite 1200, San Diego, CA 92101, in said County and State. On July 14, 2019,
     I served the following document(s):
 5
               DECLARATION OF JEREMY ROSENTHAL RE EMERGENCY
 6             HEARING REQUESTED BY CHAPTER 11 EXAMINER
 7   on each of the interested parties as follows:

 8   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
     Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
 9   document will be served by the court via NEF and hyperlink to the document. On July 14, 2019, I
     checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
10   the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the
     email address(es) indicated below:
11
               Christine E. Baur christine@baurbklaw.com, admin@baurbklaw.com
12             •Michael D. Breslauer mbreslauer@swsslaw.com, wyones@swsslaw.com
               •John W. Cutchin jcutchin@san.rr.com
13             •Jesse S. Finlayson jfinlayson@ftrlfirm.com, bmendoza@ftrlfirm.com
               •Douglas Flahaut flahaut.douglas@arentfox.com
14             •Lauren Nicole Gans lgans@shensonlawgroup.com, jshenson@shensonlawgroup.com
               •Todd S. Garan ch11ecf@aldridgepite.com, tgaran@aldridgepite.com;TSG@ecf.courtdrive.com
15             •Aram Ordubegian ordubegian.aram@arentfox.com
               •David Ortiz david.a.ortiz@usdoj.gov,
16             USTP.REGION15@USDOJ.GOV;tiffany.l.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.gov
               •Michael L. Turrill michael.turrill@hoganlovells.com,
17             elizabeth.goncharov@hoganlovells.com;tiffany.dejonge@hoganlovells.com;jamie.wood@hoganlovell
               s.com;ladocketing.com
18             • United States Trustee ustp.region15@usdoj.gov
               •Donald A. Vaughn dav@vv-law.com, etopol@vv-law.com
19             •Christopher K.S. Wong christopher.wong@arentfox.com


20   SERVED BY U.S. MAIL: On July 14, 2019, I served the following person(s) and/or entity(ies) at
     the last known address(es) in this bankruptcy case or adversary proceeding by placing a true and
21   correct copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid,
     and/or with an overnight mail service addressed as follows:
22
               SEE ATTACHED SERVICE LIST
23
            I declare under penalty of perjury under the laws of the United States of America that the
24   foregoing is true and correct.

25

26   Dated: July 14, 2019                      By: /s/ Wendy A. Yones
                                                   WENDY A. YONES
27

28


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